                   Case 2:04-cr-00406-MCE Document 172 Filed 03/17/14 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                         Eastern District of California

        UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                   v.                                                 (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses committed on or after November 1, 1987)
       CHARLEY JOSEPH STEPHENSON
                    (Defendant’s Name)                                Criminal Number: 2:04CR00406-01


                                                                      Benjamin Galloway, Assistant Federal Defender
                                                                      Defendant’s Attorney

THE DEFENDANT:
[U]     admitted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on 11/14/2013.
[ ]     was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
        violation petition filed on  .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

Violation Number                   Nature of Violation                                 Date Violation Occurred
1                                  Failure to Follow the Instructions of the           10/24/2013
                                   Probation Officer
2                                  Failure to Participate In A Residential Re-         08/23/2013
                                   Entry Center



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 01/31/2013.

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[ ]     Charge(s)         is/are dismissed.



        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                             02/27/2014
                                                             Date of Imposition of Sentence




                                                             Signature of Judicial Officer

                                                             MORRISON C. ENGLAND, JR., United States District Judge
                                                             Name & Title of Judicial Officer

                                                             03/17/2014
                                                             Date
                  Case 2:04-cr-00406-MCE Document 172 Filed 03/17/14 Page 2 of 2
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:             2:04CR00406-01                                                                Judgment - Page 2 of 2
DEFENDANT:               CHARLEY JOSEPH STEPHENSON



                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 8 months.




[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The Court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in a medical facility to treat his current injury, but
        only insofar as this accords with security classification and space availability.



[U]     The defendant is remanded to the custody of the United States Marshal.



[ ]     The defendant shall surrender to the United States Marshal for this district.
        [ ] at       on    .
        [ ] as notified by the United States Marshal.



[ ]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before    on     .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                         RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                             , with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                            By
                                                                                             Deputy U.S. Marshal
